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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF DELAWARE


  DATACLOUD TECHNOLOGIES, LLC,                               NO. 1:21-cv-01629-VAC-MPT
           Plaintiff,

  v.

  CALIX, INC.,
           Defendant.




                             JOINT MOTION TO EXTEND STAY

           Plaintiff DATACLOUD TECHNOLOGIES, LLC (hereinafter, “DataCloud”) and

 Defendant CALIX, INC. (hereinafter, “Defendant”) move to extend the stay entered by this Court

 (D.I. 20). An agreement has been reached that resolves this matter in its entirety, and the parties

 are requesting this stay in order to give the parties additional time to submit dismissal papers with

 this Court. The parties therefore move to stay this case for 10 days, up to and including June 10,

 2022, to allow the Parties the time to effectuate the agreement and file the appropriate dismissal

 papers.
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 Dated: May 31, 2022                  Respectfully submitted,

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                           Attorneys for Defendant CALIX, INC.




         SO ORDERED

 Date:
                                         United States Magistrate Judge


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                                 CERTIFICATE OF SERVICE

        I hereby certify that on this day, I electronically filed the above documents with the Clerk

 of Court using CM/ECF which will send electronic notification of such filings to all registered

 counsel.

 Date: May 31, 2022                           /s/ Stamatios Stamoulis
                                              Stamatios Stamoulis #4606




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